
BE IT REMEMBERED:

THAT at the term of the Honorable Court of Appeals for the Tenth District of the State of Texas, begun and holden at Waco on the 1[st] day of January, 2016, present Chief Justice TOM GRAY and Justices REX D. DAVIS and AL SCOGGINS

In the cause

No. 10-16-00004-CV

IN RE TROY PAUL

Original Proceeding

the following Judgment was entered on the 5[th] day of May, 2016:

"Came on to be heard the original Petition for Writ of Mandamus filed herein by Relator Troy Paul, and the same having been considered, because it is the opinion of this Court that the Petition for Writ of Mandamus is meritorious and should be granted; it is therefore ordered, adjudged and decreed that the Petition for Writ of Mandamus be, and hereby is, granted in accordance with the opinion of this Court, and mandamus will issue only if the Honorable William Bosworth fails to comply."

I, SHARRI ROESSLER, Clerk of the Court of Appeals for the Tenth District of Texas, at the City of Waco, hereby certify that the foregoing is a true copy of the Judgment entered herein by this Court in the above entitled and numbered cause as appears of record in Minute Book 13, Page 804.

IN WITNESS WHEREOF, I hereunto set my hand and affix the seal of said Court at Waco, this 5[th] day of May A.D. 2016.

SHARRI ROESSLER, CLERK
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk


